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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


Sam Jasmine,                                                       Court File No.: ____________

                              Plaintiff,
                                                                  COMPLAINT
v.

United States of America,

                              Defendant.


        Plaintiff Sam Jasmine, by and through Plaintiff’s undersigned attorneys, brings this

Complaint against Defendant and alleges as follows:

        This is an action for damages related to Plaintiff’s injuries caused by Defendant’s

employee Janet Marie Rath’s operation of a United States Postal Service (“USPS”) mail truck

which struck the Plaintiff, a blind pedestrian. The claims herein are brought against the United

States of America pursuant to the Federal Tort Claims Act (28 U.S.C. § 2671, et seq. and 28

U.S.C. § 1346) for money damages as compensation for personal injuries that were caused by the

negligent and wrongful acts and omissions of an employee of the United States Government

while acting within the scope of her employment, under circumstances where the United States,

if a private person, would be liable to Plaintiff in accordance with the laws of the State of

Minnesota.

                                JURISDICTION AND VENUE

        1.     This Court has jurisdiction pursuant to 28 U.S.C. § 1346(b)(1).

        2.     Plaintiff has complied with all applicable provisions of 28 U.S.C. § 2675(a).

Specifically, this proceeding is timely brought because Plaintiff submitted her Notice of Claim to




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the USPS on April 17, 2018, and this claim has been pending with the USPS for more than six

months.

        3.     Venue is proper within this district pursuant to 28 U.S.C. §§ 1391 and 1402(b)

because Defendant’s employee Rath was operating Defendant’s USPS mail truck in the County

of Hennepin, State of Minnesota, and the accident caused by Rath’s negligent operation of that

truck occurred in the County of Hennepin, State of Minnesota.

                                         THE PARTIES

        4.     Plaintiff Sam Jasmine is a resident of the County of Hennepin, State of

Minnesota.

        5.     Pursuant to 39 U.S.C. § 409(c), the Federal Tort Claims Act applies to tort claims

arising out of activities of the USPS.

        6.     At the time of the accident, Defendant’s employee Rath was an employee of the

USPS and was operating the Defendant’s mail truck in the County of Hennepin, State of

Minnesota.

                                            FACTS

        7.     On July 16, 2016, Plaintiff was walking at the side of the road in her

neighborhood in Plymouth, Minnesota since there are no sidewalks in this neighborhood. She

was walking with her Seeing Eye dog Jenny, who had been with Plaintiff for six years and had

been extensively trained. Plaintiff was walking East on 34th Street approaching Sycamore Lane.

        8.     At the same time, Defendant’s employee Rath was operating a USPS mail truck

traveling South on Sycamore Lane and turning right (West) onto 34th Street.

        9.     As a blind pedestrian, Plaintiff had the right-of-way, pursuant to Minnesota

Statutes, § 169.202, Subd. 2.



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        10.     Shortly after making the turn, Rath suddenly and without warning negligently and

carelessly struck the Plaintiff, knocking her to the ground.

        11.     At the time of the accident, Rath was acting in the course and scope of her

employment with the USPS.

        12.     As a result of this accident, Plaintiff sustained severe and permanent injuries,

including injuries to her right leg.

        13.     The injuries sustained by Plaintiff caused her to suffer pain and suffering and

other damages, including but not limited to medical and hospital expenses for the treatment of

her injuries, loss of earnings and future lost earning capacity.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendant as follows:

        1.      For an award of damages sufficient to compensate Plaintiff for damages incurred

in excess of $75,000, including but not limited to past and future medical and hospital expenses,

loss of past earnings and future earning capacity, pain, suffering and disfigurement;

        2.      For prejudgment and postjudgment interest as permitted by law;

        3.      For costs and disbursements incurred as permitted by law; and

        4.      For all other just and proper relief.




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Dated: December 6, 2018                    BRIGGS AND MORGAN, P.A.


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